IN THE UNITED STATES COURT OF APPEALS
FOR THE EIGHTH CIRCUIT

PHILADELPHIA CONSOLIDATED
HOLDING CORP. d/b/a PHILADELPHIA
INSURANCE COMPANIES,

Appellee, Case No.: 13-3397
Vv.

LSI-LOWERY SYSTEMS, INC.,

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Appellant.

STATEMENT OF ISSUES
OF APPELLANT LSI-LOWERY SYSTEMS, INC.

COMES NOW the Separate Appellant LSI-Lowery Systems, Inc. (‘LSI’) and, for
its Statement of Issues, states as follows:

I. STATEMENT OF ISSUES.

1. Whether the District Court erred in its judgment dated October 9,
2013 (Doc. 74,75) granting the Motion for Summary Judgment filed by Plaintiff-Appellee
Philadelphia Consolidated Holding Corp., d/b/a Philadelphia Insurance Companies
(‘PIC’) (doc. Nos. 50, 52) and holding that PIC has no duty to defend or indemnify
Defendant-Appellant LSI against the claims asserted by Hodell in the separate action

pending in the Northern District of Ohio, Eastern Division as Case No. 1:08-cv-2755.
Respectfully submitted,

fsi Timothy K. Kellett
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CERTIFICATE OF SERVICE

| certify that on November 13, 2013, | electronically filed the foregoing with the
Clerk of the Court for the United States Court of Appeals for the Eighth Circuit using the
CMIECF system. | certify that all participants in the case are registered CM/ECF users
and that service will be accomplished by the CM/ECF system.

/si Timothy K. Kellett
Timothy K. Kellett (Mo.Bar No. 26555)
Attorney for LSI-Lowery Systems, Inc.

